       Case 1-18-43236-nhl            Doc 23      Filed 07/08/18    Entered 07/09/18 08:23:19




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:
                                                                   Case No. 1-18-43236-nhl
Topush Hacking Corp,
                                                                   Chapter 11
                                             Debtor.
-------------------------------------------------------------X
In re:
                                                                   Case No. 1-18-43237-nhl
Phanero Hacking Corp,
                                                                   Chapter 11
                                             Debtor.
-------------------------------------------------------------X
In re:
                                                                   Case No. 1-18-43238-nhl
Sice Mois Hacking Corp,
                                                                   Chapter 11
                                             Debtor.
-------------------------------------------------------------X
In re:
                                                                   Case No. 1-18-43239-nhl
Lomax Hacking Corp,
                                                                   Chapter 11
                                             Debtor.
-------------------------------------------------------------X
In re:
                                                                   Case No. 1-18-43240-nhl
Loup Hacking Corp,
                                                                   Chapter 11
                                             Debtor.
-------------------------------------------------------------X


                                     ORDER DISMISSING CASES

        UPON the motions (the “Motions”) of Banco Popular North America as Successor in

Interest to Banco Popular de Puerto Rico, as Successor in Interest to Doral Bank (the “Bank”), by

and through its counsel, Granoff, Walker & Forlenza, P.C. and Freedman Law, LLC, for orders

dismissing the chapter 11 bankruptcy petitions of Lomax Hacking Corp., Loup Hacking Corp.,

Phanero Hacking Corp., Sice Mois Hacking Corp., and Topush Hacking Corp. (collectively, the
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“Debtors”) pursuant to Section 1112(b) of the Bankruptcy Code or, alternatively, granting relief

from the automatic stay pursuant to Section 362(d) of the Bankruptcy Code; and good and

sufficient notice of the Motions having been provided to all parties-in-interest, as evidenced by the

Affidavit of Service filed with the Court; and a hearing on the Motions held on June 28, 2018, at

which Aaron Ward, Esq. appeared on behalf of the Debtors, Lee A. Forlenza, Esq. and Terri Jane

Freedman, Esq. appeared on behalf of the Bank, and Marylou Martin, Esq. appeared on behalf of

the United States Trustee; and due deliberation and sufficient cause appearing therefor, it is hereby

       ORDERED, that the Motions are granted as set forth herein; and it is further

       ORDERED, that, pursuant to 11 U.S.C. § 1112(b), the above-captioned chapter 11 cases

(Case Nos. 18-43236-nhl, 18-43237-nhl, 18-43238-nhl, 18-43239-nhl, and 18-43240-nhl) are

dismissed; and it is further

       ORDERED, that the Debtors shall pay to the United States Trustee the appropriate sum,

if any, required pursuant to 28 U.S.C. § 1930 and any applicable interest pursuant to 31 U.S.C. §

3717 within ten (10) days of the entry of this order and simultaneously provide to the United States

Trustee an appropriate affidavit indicating the cash disbursements for the relevant period.




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 Dated: July 8, 2018                                                 Nancy Hershey Lord
        Brooklyn, New York                                      United States Bankruptcy Judge
